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                 EXHIBIT B
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              Case 1:24-cv-01844-TNM         Document 28-2        Filed 02/11/25      Page 3 of 4
    ALERT: WINTER STORMS IN THE MIDWEST THROUGH THE NORTHEAST U.S. MAY DELAY FIN…



USPS Tracking
                                  ®                                                                   FAQs 




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Tracking Number:

70030500000243288211




                                                                                                           Feedback
     Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




     Latest Update
     Your item has been delivered and is available at a PO Box at 10:51 am on February 7, 2025 in
     RICHMOND, VA 23218.



     Get More Out of USPS Tracking:
         USPS Tracking Plus®


     Delivered
     Delivered, PO Box
     RICHMOND, VA 23218
     February 7, 2025, 10:51 am

     See All Tracking History

 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


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   Text & Email Updates


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   USPS Tracking Plus®


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Track Another Package
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Enter tracking or barcode numbers




                                    Need More Help?
                      Contact USPS Tracking support for further assistance.


                                             FAQs
